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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA
Plaintiff

       v.                                        Criminal No. 13-731 (DRD)

Juan Antonio Rosario-Cintron (2)
Defendants



                                     OPINION & ORDER

       The right to remain silent is a cornerstone of our constitutional configuration. The

Supreme Court deems this right to be so essential that a police officer is required to

inform individuals of its existence prior to subjecting them to a custodial interrogation.

Once invoked, the right to silence cannot be taken lightly—the interrogation must

generally cease.    Failure to adhere to these fundamental procedures comes with

consequences to both the Government and society as a whole. Today, the Government

must suffer for the actions of an overzealous police officer.


                                I.    THE CONFESSION

       A man was shot to death on September 28, 2013, in Canóvanas, Puerto Rico.

Puerto Rico Police Officer Jaime Crespo Del Valle (“Officer Crespo”) was notified of the

incident at 1:10 p.m. and arrived at the scene shortly thereafter while being

accompanied by a state prosecutor and a forensic team. Subsequently, Officer Crespo

was informed by other officers that a vehicle occupied by three individuals—Juan

Antonio Rosario-Cintron (“Defendant”), William Rosado-Cancel, and Anelys Escobar—

was stopped for speeding not too far away. Suspicious that the two incidents may be

related, Officer Crespo, the state prosecutor, and the forensic team all went to this
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second location.   Eventually, two firearms were recovered from this second locale,

which resulted in the three individuals being taken into custody.


      As the instant motion is limited to challenging the admissibility of certain

statements made by Defendant, the Court need not address the particulars of the

seized firearms nor the other two individuals who were detained. With these caveats in

mind, the Court trains its focus onto the germane facts of the controversy at hand.


      Officer Crespo first interviewed Defendant—who was still in custody—the next

day at 11:30 a.m. at a police station. Next, Officer Crespo gave Defendant a form that

comprehensively enumerated his Miranda rights in both English and Spanish. Although

it contains several grammatical errors, the relevant portion of the form, which is found at

Docket No. 57-2, is enclosed below for the sake of clarity:


              You are here as a suspect of apparent accused and before
      questioning I want to warn you of your right.
              1- You have the right to remain silent when questioned.
              2- Anything you say may be used in court against you.
              3- You have the right to counsel, to talk with counsel before saying
      anything and to have counsel present during questioning
              4- If you are indigent and if you wish I will get you a lawyer prior to
      questioning without charge.
              5- If you desire to answer my question without legal assistant, you
      can invoke your right to remain silent at any time and can request for
      counsel.
              6- Your statement must be completely free, voluntary and
      spontaneous and I can not use any degree to persuasion, threat, coercion
      nor intimidation to force you to answer.
              Have you understood what I have explained to you?
              Are you willing to testify?

Echoing the last two lines, Officer Crespo asked if Defendant understood everything on

the form and if he was willing to testify. In response, Defendant indicated that he did

understand everything but that he did not want to testify. Accordingly, Officer Crespo


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wrote “NO” next to the “[a]re you willing to testify” question. See Id. Afterwards, both of

them proceeded to sign the bottom of this document at 11:55 a.m. See Id.


          At some point, while still in Defendant’s presence, Officer Crespo took notes of

the interview. See Docket No. 74-1. On these notes, Officer Crespo wrote the date,

time, and Defendant’s personal information. Directly under this general information,

Officer Crespo wrote “[h]e has refused to speak concerning the occurrence and does

not wish to make a statement, after having been read the warnings.”                            See Id.

Immediately under this assertion, Officer Crespo drew an asterisk and a horizontal line

so that Defendant could sign his notes. Defendant refused.


          At this point, Officer Crespo told Defendant that he would charge all three

individuals with murder and that this was his “last chance.” See Docket No. 84-1, p. 20.

In response, Defendant agreed to break his silence as long as Anelys Escobar would

not be charged with a crime because she, allegedly, was not involved in the murder.1

Subsequently, Defendant provided various incriminating statements to Officer Crespo.

The details of this confession were then written by Officer Crespo in his notes. See

Docket No. 74-1.


          Defendant, who now speaks through counsel, moves for the suppression of

these incriminating statements.              Fairly read, the motion to suppress argues that

Defendant’s Miranda rights were violated and that all of Officer Crespo’s own

statements regarding the interrogation constitute untrustworthy hearsay that do not fall

within any exception. See Docket No. 66.


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    The briefs do not specify the nature of Defendant’s relationship with Anelys Escobar.


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      The matter was referred to the Hon. Magistrate Judge Bruce J. McGiverin for a

report and recommendation. After conducting an evidentiary hearing and listening to

testimony, the Magistrate Judge recommends that the confession be suppressed

because Officer Crespo overstepped his bounds and did not honor Defendant’s right to

remain silent. The Court agrees.


                           II.   STANDARD OF REVIEW

      The Court may refer dispositive motions to a United States Magistrate Judge for

a report and recommendation pursuant to 28 U.S.C. § 636(b)(1)(B). See Fed. R. Civ. P.

72(b); Local Rule 72(a); Matthews v. Weber, 423 U.S. 261 (1976).             An adversely

affected party may contest the Magistrate’s report and recommendation by filing its

objections. Fed. R. Civ. P. 72(b). Moreover, 28 U.S.C. § 636(b)(1), in pertinent part,

provides that

       . . . any party may serve and file written objections to such proposed
      findings and recommendations as provided by rules of court. A judge of
      the court shall make a de novo determination of those portions of the
      report or specified proposed findings or recommendations to which
      objection is made. A judge of the court may accept, reject, or modify, in
      whole or in part, the findings or recommendations made by the magistrate.

      “Absent objection, . . . [a] district court ha[s] a right to assume that [the affected

party] agree[s] to the magistrate’s recommendation.” Templeman v. Chris Craft Corp.,

770 F.2d 245, 247 (1st Cir. 1985), cert denied, 474 U.S. 1021 (1985). Additionally,

“failure to raise objections to the Report and Recommendation waives that party’s right

to review in the district court and those claims not preserved by such objections are

precluded upon appeal.” Davet v. Maccarone, 973 F.2d 22, 30-31 (1st Cir. 1992); see

Henley Drilling Co. v. McGee, 36 F.3d 143, 150-51 (1st Cir. 1994) (holding that

objections are required when challenging findings actually set out in a magistrate’s


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recommendation, as well as the magistrate’s failure to make additional findings); see

also Lewry v. Town of Standish, 984 F.2d 25, 27 (1st Cir. 1993) (stating that “[o]bjection

to a magistrate’s report preserves only those objections that are specified”); Borden v.

Sec. of H.H.S., 836 F.2d 4, 6 (1st Cir. 1987) (holding that appellant was entitled to a de

novo review, “however he was not entitled to a de novo review of an argument never

raised”).

       The Court, in order to accept unopposed portions of the Magistrate Judge’s

report and recommendation, need only satisfy itself that there is no “plain error” on the

face of the record. See Douglass v. United Servs. Auto, Ass’n, 79 F.3d 1415, 1419 (5th

Cir. 1996) (en banc) (extending the deferential “plain error” standard of review to the

legal conclusions of a magistrate judge that were not objected to); see also Nettles v.

Wainwright, 677 F.2d 404, 410 (5th Cir. 1982) (en banc) (appeal from district court’s

acceptance of a magistrate judge’s findings that were not objected to was reviewed for

“plain error”); see also Nogueras-Cartagena v. United States, 172 F.Supp. 2d 296, 305

(D.P.R. 2001) (finding that the “Court reviews [unopposed] Magistrate’s Report and

Recommendation to ascertain whether or not the Magistrate’s recommendation was

clearly erroneous”) (adopting the Advisory Committee note regarding Fed. R. Civ. P.

72(b)); see also Garcia v. I.N.S., 733 F.Supp. 1554, 1555 (M.D.Pa. 1990) (finding that

“when no objections are filed, the district court need only review the record for plain

error”).

                       III.   THE RIGHT TO REMAIN SILENT

       In the pioneering case Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme

Court set out to curtail ever-growing abuses by the police in custodial interrogations.

Miranda honors an individual’s Fifth Amendment privilege against being “compelled in


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any criminal case to be a witness against himself” during a custodial interrogation,

which is coercive by its very nature. See Id. at 467 (“We have concluded that without

proper safeguards the process of in-custody interrogation of persons suspected or

accused of crime contains inherently compelling pressures which work to undermine the

individual's will to resist and to compel him to speak where he would not otherwise do

so freely.”); U.S. Const. amend. V. “In order to combat these pressures and to permit a

full opportunity to exercise the privilege against self-incrimination, the accused must be

adequately and effectively apprised of his rights and the exercise of those rights must

be fully honored.” Miranda, 384 U.S. at 467. “A reasonable and faithful interpretation of

the Miranda opinion must rest on the intention of the Court in that case to adopt ‘fully

effective means . . . to notify the person of his right of silence and to assure that the

exercise of the right will be scrupulously honored . . . ’” Michigan v. Mosley, 423 U.S.

96, 103 (1975) (citing Miranda, 384 U.S. at 479).


      Miranda took these legitimate constitutional concerns and turned them into four

concrete mandates that live on today. First, a suspect must be “informed in clear and

unequivocal terms that he [or she] has the right to remain silent.” Miranda, 384 U.S. at

467-68 (“such a warning is an absolute prerequisite in overcoming the inherent

pressures of the interrogation atmosphere.”). Second, “[t]he warning of the right to

remain silent must be accompanied by the explanation that anything said can and will

be used against the individual in court.” Id. at 469 (“This warning is needed in order to

make him aware not only of the privilege, but also of the consequences of forgoing it.”).

Third, “an individual held for interrogation must be clearly informed that he [or she] has

the right to consult with a lawyer and to have the lawyer with him [or her] during



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interrogation.” Id. at 471 (“As with the warnings of the right to remain silent and that

anything stated can be used in evidence against him, this warning is an absolute

prerequisite to interrogation.”).             And fourth, “[i]n order fully to apprise a person

interrogated of the extent of his rights under this system then, it is necessary to warn

him [or her] not only that he [or she] has the right to consult with an attorney, but also

that if he [or she] is indigent a lawyer will be appointed to represent him [or her].” Id. at

473 (“Without this additional warning, the admonition of the right to consult with counsel

would often be understood as meaning only that he can consult with a lawyer if he has

one or has the funds to obtain one.”).


          The interrogation must cease if at any point the suspect unambiguously invokes

his right to remain silent or to an attorney.2 Id. at 473-74 (“[i]f the individual indicates in

any manner, at any time prior to or during questioning, that he wishes to remain silent,

the interrogation must cease.”); Berghuis v. Thompkins, 560 U.S. 370, 381 (2010)

(qualifying Miranda by maintaining that an invocation of these rights must be

“unambiguous” before an immediate stoppage of questioning is required); § 76 The

Miranda Rules—Waiver and Invocation of Miranda Rights, 1 Fed. Prac. & Proc. Crim. §

76 (4th ed.). “If an accused makes a statement concerning the right to counsel ‘that is

ambiguous or equivocal’ or makes no statement, the police are not required to end the

interrogation . . . or ask questions to clarify whether the accused wants to invoke his or

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    Miranda recognizes a potential exception to this far-reaching legal principle:

          If an individual indicates his desire to remain silent, but has an attorney present, there
          may be some circumstances in which further questioning would be permissible. In the
          absence of evidence of overbearing, statements the[n] made in the presence of counsel
          might be free of the compelling influence of the interrogation process and might fairly be
          construed as a waiver of the privilege for purposes of these statements.

Id. at 473-74 n. 44.


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her Miranda rights.” Berghuis, 560 U.S. at 381 (citing Davis v. United States, 512 U.S.

452, 461-62 (1994)). Further, “[a]n officer's request for clarification of a spontaneous

statement generally does not constitute interrogation.” United States v. Chipps, 410

F.3d 438, 445 (8th Cir. 2005); see also § 75 The Miranda Rules—Custody,

Interrogation, and Exceptions, 1 Fed. Prac. & Proc. Crim. § 75 (4th ed.).                “The

requirement that law enforcement authorities must respect a person's exercise of [the

option to terminate questioning] counteracts the coercive pressures of the custodial

setting.” Mosley, 423 U.S. at 104.


       In order for the Miranda protections to attach, the person must be in “custody”

and subject to “interrogation.” “Both of these requirements have become terms of art for

purposes of applying the Miranda doctrine.”         § 75 The Miranda Rules—Custody,

Interrogation, and Exceptions, 1 Fed. Prac. & Proc. Crim. § 75 (4th ed.). The Court

proceeds to briefly summarize how this fundamental terminology has been interpreted

by the judiciary.

       The definition of “custody” for Miranda purposes has been described in certain

detail by the Supreme Court:

               As used in our Miranda case law, "custody" is a term of art that
       specifies circumstances that are thought generally to present a serious
       danger of coercion. In determining whether a person is in custody in this
       sense, the initial step is to ascertain whether, in light of "the objective
       circumstances of the interrogation," a "reasonable person [would] have felt
       he or she was not at liberty to terminate the interrogation and leave." And
       in order to determine how a suspect would have "gauge[d]" his "freedom
       of movement," courts must examine "all of the circumstances surrounding
       the interrogation." Relevant factors include the location of the questioning,
       statements made during the interview, the presence or absence of
       physical restraints during the questioning, and the release of the
       interviewee at the end of the questioning.
               Determining whether an individual's freedom of movement was
       curtailed, however, is simply the first step in the analysis, not the last. Not


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       all restraints on freedom of movement amount to custody for purposes of
       Miranda. We have “decline[d] to accord talismanic power” to the freedom-
       of-movement inquiry, and have instead asked the additional question
       whether the relevant environment presents the same inherently coercive
       pressures as the type of station house questioning at issue in Miranda.”
       (internal citations omitted).

Howes v. Fields, 132 S. Ct. 1181, 1189-90 (2012); see also § 75 The Miranda Rules—

Custody, Interrogation, and Exceptions, 1 Fed. Prac. & Proc. Crim. § 75 (4th ed.). It

should be noted that “[o]nly those interrogations that occur while a suspect is in police

custody . . . ‘heighte[n] the risk’ that statements obtained are not the product of the

suspect's free choice.”   J.D.B. v. N. Carolina, 564 U.S. 261, 268-69 (2011) (citing

Dickerson v. United States, 530 U.S. 428, 435 (2000)).

       “‘Interrogation,’ as conceptualized in the Miranda opinion, must reflect a measure

of compulsion above and beyond that inherent in custody itself.” Rhode Island v. Innis,

446 U.S. 291, 300 (1980); see also § 75 The Miranda Rules—Custody, Interrogation,

and Exceptions, 1 Fed. Prac. & Proc. Crim. § 75 (4th ed.). Further, as with “custody,”

the Supreme Court has also set forth certain guidance for the interpretation of the term

“interrogation”:

               We conclude that the Miranda safeguards come into play whenever
       a person in custody is subjected to either express questioning or its
       functional equivalent. That is to say, the term “interrogation” under
       Miranda refers not only to express questioning, but also to any words or
       actions on the part of the police (other than those normally attendant to
       arrest and custody) that the police should know are reasonably likely to
       elicit an incriminating response from the suspect. The latter portion of this
       definition focuses primarily upon the perceptions of the suspect, rather
       than the intent of the police. This focus reflects the fact that the Miranda
       safeguards were designed to vest a suspect in custody with an added
       measure of protection against coercive police practices, without regard to
       objective proof of the underlying intent of the police. A practice that the
       police should know is reasonably likely to evoke an incriminating response
       from a suspect thus amounts to interrogation. But, since the police surely
       cannot be held accountable for the unforeseeable results of their words or



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       actions, the definition of interrogation can extend only to words or actions
       on the part of police officers that they should have known were reasonably
       likely to elicit an incriminating response. (footnotes omitted).

Innis, 446 U.S. at 300-02; see also United States v. Thongsophaporn, 503 F.3d 51, 57

(1st Cir. 2007). As such, when conducting the aforementioned evaluation, the Court

should not simply dismiss all statements made by the police that do not end in a

question mark. See Innis, 406 U.S. at 301 n. 6.

       “The ‘functional equivalence’ test does not turn on the subjective intent of the

particular police officer but on an objective assessment as to whether the police

statements and conduct would be perceived as interrogation by a reasonable person in

the same circumstances.” United States v. Taylor, 985 F.2d 3, 8 (1st Cir. 1993) (citing

Arizona v. Mauro, 481 U.S. 520, 527 (1987); Innis, 446 U.S. at 301–02 n. 7; United

States v. Soto, 953 F.2d 263, 265 (6th Cir. 1992) (“[a]bsence of intent to interrogate,

while not irrelevant, is not determinative of whether police conduct constitutes

interrogation”). However, “[a]lthough a different result might obtain were it established

that the challenged police conduct was designed to elicit a response, . . . the mere fact

that a police officer may be aware that there is a possibility that a suspect may make an

incriminating statement is insufficient to establish the functional equivalent of

interrogation.” Taylor, 985 F.2d at 8; see also United States v. Davis, 773 F.3d 334,

339 (1st Cir. 2014). Notwithstanding, “the Innis definition of interrogation is not so broad

as to capture within Miranda's reach all declaratory statements by police officers

concerning the nature of the charges against the suspect and the evidence relating to

those charges.” United States v. Payne, 954 F.2d 199, 202 (4th Cir. 1992) (reiterated in

Caputo v. Nelson, 455 F.3d 45, 50 (1st Cir. 2006)).




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      Nevertheless, it is well imbedded in our legal traditions that a suspect is free to

waive his Miranda rights. However, in order for the Court to make such a finding, “[t]he

government must prove that a waiver occurred by a preponderance of the evidence.” §

76 The Miranda Rules—Waiver and Invocation of Miranda Rights, 1 Fed. Prac. & Proc.

Crim. § 76 (4th ed.) (citing Colorado v. Connelly, 479 U.S. 157 (1986)). “The course of

decisions since Miranda . . . demonstrates that waivers can be established even absent

formal or express statements of waiver that would be expected in, say, a judicial hearing

to determine if a guilty plea has been properly entered." Berghuis, 560 U.S. at 383.

“The courts must presume that a defendant did not waive his rights; the prosecution's

burden is great; but in at least some cases waiver can be clearly inferred from the

actions and words of the person interrogated.” N. Carolina v. Butler, 441 U.S. 369, 373

(1979). “In determining whether there was an implied waiver, the court must look to the

totality of the circumstances surrounding the interrogation.” (emphasis ours). § 76 The

Miranda Rules—Waiver and Invocation of Miranda Rights, 1 Fed. Prac. & Proc. Crim. §

76 (4th ed.) (citing Fare v. Michael C., 442 U.S. 707, 724–25 (1979)).

      Further, it should be noted that Miranda and its progeny consistently reiterate the

following regarding a suspect’s voluntary statements:

             In dealing with statements obtained through interrogation, we do
      not purport to find all confessions inadmissible. Confessions remain a
      proper element in law enforcement. Any statement given freely and
      voluntarily without any compelling influences is, of course, admissible in
      evidence. The fundamental import of the privilege while an individual is in
      custody is not whether he is allowed to talk to the police without the
      benefit of warnings and counsel, but whether he can be interrogated. . . .
      Volunteered statements of any kind are not barred by the Fifth
      Amendment and their admissibility is not affected by our holding today.




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Miranda, 384 U.S. at 478; see also Innis, 446 U.S. at 299–300; Oregon v. Elstad, 470

U.S. 298, 305 (1985) (“‘far from being prohibited by the Constitution, admissions of guilt

by wrongdoers, if not coerced, are inherently desirable’” (quoting United States v.

Washington, 431 U.S. 181, 187 (1977)); Mauro, 481 U.S. at 529.

       Although Miranda requires that a suspect’s invocation of silence be “scrupulously

honored,” this does not equate to “a per se proscription of indefinite duration upon any

further questioning by any police officer on any subject.” 3 Mosley, 423 U.S. at 102–03;

§ 76 The Miranda Rules—Waiver and Invocation of Miranda Rights, 1 Fed. Prac. &

Proc. Crim. § 76 (4th ed.); see also United States v. Andrade, 135 F.3d 104, 107 (1st

Cir. 1998). “[T]he admissibility of statements obtained after the person in custody has

decided to remain silent depends under Miranda on whether his ‘right to cut off

questioning’ was ‘scrupulously honored.’” Mosley, 423 U.S. at 104 (1975); see also

United States v. Barone, 968 F.2d 1378, 1383 (1st Cir. 1992).

       Properly assessing whether a suspect’s silence was “scrupulously honored”

requires an analysis of, inter alia, the following factors: “(1) whether a reasonable period


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 On the other hand, when suspects invoke their right to an attorney, “questioning . . . must cease, only
now the police may not reapproach the defendant later to seek a waiver.” § 76 The Miranda Rules—
Waiver and Invocation of Miranda Rights, 1 Fed. Prac. & Proc. Crim. § 76 (4th ed.). Specifically, the
Supreme Court stated:

        . . . although we have held that after initially being advised of his Miranda rights, the
       accused may himself validly waive his rights and respond to interrogation . . . , the Court
       has strongly indicated that additional safeguards are necessary when the accused asks
       for counsel; and we now hold that when an accused has invoked his right to have
       counsel present during custodial interrogation, a valid waiver of that right cannot be
       established by showing only that he responded to further police-initiated custodial
       interrogation even if he has been advised of his rights. We further hold that an accused,
       such as Edwards, having expressed his desire to deal with the police only through
       counsel, is not subject to further interrogation by the authorities until counsel has been
       made available to him, unless the accused himself initiates further communication,
       exchanges, or conversations with the police. (footnote omitted).

Edwards v. Arizona, 451 U.S. 477, 484-85 (1981).



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of time passed prior to the resumption [of questioning], (2) whether the same officer

resumed questioning, (3) whether the suspect received refreshed Miranda warnings,

and (4) whether questioning concerned the same alleged crime.”           United States v.

Oquendo-Rivas, 750 F.3d 12, 17-18 (1st Cir. 2014); see also United States v. Lugo

Guerrero, 524 F.3d 5, 12 (1st Cir. 2008) (citing Mosley, 423 U.S. at 104–06). Moreover,

the Court notes that the Seventh Circuit explicitly mentions two additional factors that

merit attention: “the scope of the second interrogation” and “the degree to which police

officers pursued further interrogation once the suspect had invoked his right to silence.”

United States v. Schwensow, 151 F.3d 650, 658 (7th Cir. 1998), cert. denied, 525 U.S.

1059 (1998).    “Beyond assessing these factors, however, our ultimate review must

account for the ‘totality of the circumstances,’ with an eye to determining whether the

suspect retained the ability to choose whether and when to speak.” Oquendo-Rivas,

750 F.3d at 18; Lugo Guerrero, 524 F.3d at 12 (quoting Thongsophaporn, 503 F.3d at

57).

        When “custody” and “interrogation” are in play, Miranda takes precedence over

the traditional voluntariness test of the Fifth and Fourteenth Amendment: “Miranda's

procedural safeguards exist precisely because the voluntariness test is an inadequate

barrier when custodial interrogation is at stake.” J.D.B., 564 U.S. at 281 (citing Miranda,

384 U.S. at 458 (“Unless adequate protective devices are employed to dispel the

compulsion inherent in custodial surroundings, no statement obtained from the

defendant can truly be the product of his free choice”); Dickerson, 530 U.S. at 442

(“reliance on the traditional totality-of-the-circumstances test raise[s] a risk of

overlooking an involuntary custodial confession”)). In comparing the two systems, the




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Supreme Court celebrates the virtues of Miranda’s somewhat inflexible framework while

accepting its necessary evils:


      Whatever the defects, if any, of this relatively rigid requirement that
      interrogation must cease upon the accused's request for an attorney [or to
      remain silent], Miranda's holding has the virtue of informing police and
      prosecutors with specificity as to what they may do in conducting custodial
      interrogation, and of informing courts under what circumstances
      statements obtained during such interrogation are not admissible. This
      gain in specificity, which benefits the accused and the State alike, has
      been thought to outweigh the burdens that the decision in Miranda
      imposes on law enforcement agencies and the courts by requiring the
      suppression of trustworthy and highly probative evidence even though the
      confession might be voluntary under traditional Fifth Amendment analysis.
      See Michigan v. Tucker, 417 U.S. 433, 443–446, 94 S.Ct. 2357, 2363–
      2365, 41 L.Ed.2d 182 (1974).
Fare, 442 U.S. at 718.      Accordingly, “the inherently coercive nature of custodial

interrogation ‘blurs the line between voluntary and involuntary statements.’” J.D.B., 564

U.S. at 269 (citing Dickerson, 530 U.S. at 435).


                             IV.    THE SUPPRESSION

      Analyzing the admissibility of Defendant’s incriminating statements requires

thorough analysis of the totality of circumstances surrounding the interview at the police

station. Appropriate scrutiny will require the Court to decide five issues: (1) whether

Defendant was in “custody” during the interview, (2) whether Defendant adequately

invoked his right to remain silent, (3) whether Defendant’s invocation of silence was

“scrupulously honored,” (4) whether Defendant was subjected to “interrogation” after

invoking his right to silence, and (5) the extent of the evidence to be suppressed. The

Court addresses these matters in seriatim fashion.




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   A. The Arrest


       As to “custody,” there can be no debate. Defendant was arrested by the police in

the afternoon after several firearms were recovered.         By the time Officer Crespo

conducted the interview, which was on the following day, Defendant was still detained.

Further, Officer Crespo even found the need to advise Defendant of his Miranda rights.

Additionally, the Government, understandably, does not contest the Magistrate Judge’s

finding that Defendant was in “custody” during the interview. See Docket No. 78, p. 6.

For all of these reasons, the Court finds that Defendant was in “custody” when Officer

Crespo conducted the interview.


   B. The Invocation of Silence


       Also beyond serious dispute is the fact that Defendant invoked his right to silence

during the interview. Officer Crespo provided Defendant with a form enumerating his

Miranda rights and asked Defendant if he understood the form and if he was willing to

testify. See Docket No. 57-2. After reading the form, Defendant alerted Officer Crespo

that he understood his rights, but would not testify. As such, Officer Crespo wrote “NO”

next to the “[a]re you willing to testify” question. See Id. Thereafter, both parties signed

the bottom of this Miranda document. See Id. Accordingly, Defendant properly and

unambiguously invoked his right to remain silent.


   C. The Ensuing Interrogation


       The next phase of the analysis focuses on whether Defendant was “interrogated”

after the unambiguous invocation of his right to silence. After careful consideration,

meticulous investigation, and thorough deliberation, the Court finds that Officer Crespo


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did improperly “interrogate” Defendant after he invoked his right to silence. The Court

explains its reasoning.


      Despite the fact that both parties signed the Miranda sheet, which acknowledged

that Defendant did not agree to speak, the interaction between the two continued. It

should be noted that the interview had already lasted twenty-five minutes by this time.

On a separate sheet of paper used for his notes, Officer Crespo wrote down

Defendant’s personal information and the fact that Defendant did not want to testify.

See Docket No. 74-1. Then, Officer Crespo asked Defendant to sign these notes.

Defendant rejected the offer.    Officer Crespo then advised Defendant that all three

individuals—Defendant, William Rosado-Cancel, and Anelys Escobar—would be

charged with murder and that this was his “last chance.” See Docket No. 84-1, p. 20.

As a result of this statement, Defendant agreed to speak to Officer Crespo as long as

Anelys Escobar was not charged with a crime as she was, allegedly, not involved in the

incident. Thereafter, Defendant provided various incriminating statements to Officer

Crespo.


      “Interrogation” can be “express questioning or its functional equivalent.” Innis,

446 U.S. at 300-01.       In the case at bar, the Court has no basis to find “express

questioning” as Officer Crespo’s statement is not a question in the literal sense.

However, the Court should not simply dismiss all statements made by the police that do

not end in a question mark. See Id. at 301 n. 6. Thus, the Court must decide whether

Officer Crespo’s statement is the “functional equivalent” of “express questioning.”




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       Referencing this “functional equivalent” doctrine, the Supreme Court stated that

“[a] practice that the police should know is reasonably likely to evoke an incriminating

response from a suspect . . . amounts to interrogation.”                   See Id. at 301.

Notwithstanding, this analysis “focuses primarily upon the perceptions of the suspect,

rather than the intent of the police.” See Id.; Taylor, 985 F.2d at 8 (“The ‘functional

equivalence’ test does not turn on the subjective intent of the particular police officer but

on an objective assessment as to whether the police statements and conduct would be

perceived as interrogation by a reasonable person in the same circumstances.”).

However, this statement is immediately qualified:


              This is not to say that the intent of the police is irrelevant, for it may
       well have a bearing on whether the police should have known that their
       words or actions were reasonably likely to evoke an incriminating
       response. In particular, where a police practice is designed to elicit an
       incriminating response from the accused, it is unlikely that the practice will
       not also be one which the police should have known was reasonably likely
       to have that effect.
Innis, 446 U.S. at 301 n. 7; see also Taylor, 985 F.2d at 8 (“Although a different result

might obtain were it established that the challenged police conduct was designed to

elicit a response, . . . the mere fact that a police officer may be aware that there is a

possibility that a suspect may make an incriminating statement is insufficient to

establish the functional equivalent of interrogation.”).


       Considering the abovementioned legal principles, the Court extensively

researched the “functional equivalence” doctrine without locating any parallel case by

the Supreme Court or the First Circuit. However, two other circuits have confronted

very similar factual scenarios. These cases are discussed below.




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       In 2004, the Ninth Circuit decided that an officer’s statement to a suspect that it

was his “last chance” to cooperate in the investigation constituted “interrogation” under

Miranda.    See United States v. Padilla, 387 F.3d 1087, 1092-93 (9th Cir. 2004).

Consequently, the suspect’s incriminating statements that were obtained in response to

this asseveration were ruled inadmissible.          The Ninth Circuit justified this ruling as

follows:


                Agent Garriola's “last chance to cooperate” statement constituted
       interrogation because the agent should have known that it was reasonably
       likely that such a comment would evoke an incriminating response. It is
       difficult to imagine any purpose for such a statement other than to elicit a
       response. The fact that Agent Garriola was seeking a response with
       regard to a separate investigation does not alter our conclusion. The “last
       chance” of which Padilla had been advised was the last chance for a
       possible bargain over Padilla's federal charges, and a response related to
       those charges was a natural result of the question. The question was
       “reasonably likely to evoke an incriminating response.” [Innis,] at 302 n. 7
       . . . ; see United States v. Brown, 720 F.2d 1059, 1068 (9th Cir. 1983) (“It
       is almost axiomatic in criminal investigation that if a suspect is induced to
       talk at all, he is likely to hurt his case.”). We conclude, therefore, that
       Padilla's statement resulted from custodial interrogation and should have
       been excluded.
Id. at 1093. Although Padilla is not binding, it is tremendously persuasive in light of its

similarity to the instant case.


       Similarly, thirteen years earlier, the Ninth Circuit excluded incriminatory

statements given by a suspect in another case: Collazo v. Estelle, 940 F.2d 411 (9th

Cir. 1991). The suspect, who was in custody at the time, was advised of his Miranda

rights. The following exchange ensued:




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       [Suspect]: Oh, you know, ah, can I, you know, talk to a lawyer?
       [First Officer]: It's up to you. This is your last chance to talk to us, though.
       [Suspect]: I understand that.
       [First Officer]: Once you get a lawyer, he's gonna say forget it. You know,
       don't talk to the police. Then it might be worse for you.
       [Suspect]: Pardon me?
       [First Officer]: Then it might be worse for you.
       [Suspect]: Why?
       [First Officer]: Because, ah, you know, there's other people involved in this
       thing, and we would like to get everybody. If you don't want to talk about it,
       uh—
       [Second Officer]: Well, he's asked for a lawyer, so why don't we, I guess
       we'll end our interview right there.
       [Suspect]: If, ah, if ah, this gonna be stupid for you, you know, for me it
       means a lot, you know.
       [First Officer]: If you're arrested for murder, it does mean a lot. (emphasis
       provided).

Id. at 414. Within a few hours, before he could be provided with counsel, the suspect

confessed.   Id.   The Ninth Circuit found that this exchange rendered the suspect’s

subsequent statements involuntary, which required their suppression.

       However, the Ninth Circuit does have two other distinguishable cases that have

not required the exclusion of incriminatory statements made in response to a “last

chance to cooperate” statement made by the police. In both United States v. Toscano-

Padilla, 996 F.2d 1229 (9th Cir. 1993) (unpublished), and United States v. Gamez, 301

F.3d 1138, 1144-45 (9th Cir. 2002), the Ninth Circuit ruled that the officer’s “last chance”

proclamations were insufficient to make a suspect’s ensuing incriminatory statements

involuntary. The Court finds these two Ninth Circuit cases to be less persuasive than

the others. First, contrary to the case at hand, the suspects in these two cases signed a

waiver form after being advised of their Miranda rights. Second, the Toscano case is

unpublished and cannot be cited as authority within the Ninth Circuit. See Ninth Circuit

Rule 36-3. And third, the Court notes that both of these Ninth Circuit opinions were




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decided prior to Padilla, which is the Ninth Circuit’s most recent expression on the

matter.

       Moving on, the Seventh Circuit “found the functional equivalent of interrogation

where a police officer told a defendant who had not been advised of his Miranda rights

that he would inform the district attorney of any cooperation the police received from the

defendant” because “[a] reasonable objective observer would have expected the

officer's invitation for the suspect to help himself by cooperating to elicit an incriminating

response.”     Enoch v. Gramley, 70 F.3d 1490, 1500 (7th Cir. 1995) (referencing

Killebrew v. Endicott, 992 F.2d 660, 663 (7th Cir. 1993)). The same may be said about

the scenario in the instant case.

          After consulting the aforementioned cases, considering the purposes of Miranda,

and taking into account the fact that it is the Government who shoulders the burden of

persuasion, the Court must find that—after analyzing the totality of circumstances—

Officer Crespo’s actions and statements to Defendant in response to his unambiguous

invocation of his right to silence constituted the “functional equivalent” of “interrogation.”

       Officer Crespo, who has over twenty years of experience, clearly “should know”

that his statement, combined with his actions, was “reasonably likely to evoke an

incriminating response.”      See Innis, 446 U.S. at 301.            Further, “an objective

assessment” reveals that Officer Crespo’s “statements and conduct would be perceived

as interrogation by a reasonable person in the same circumstances” as Defendant

during the interview.    See Taylor, 985 F.2d at 8. Indeed, with respect to the “last

chance” comment, “[i]t is difficult to imagine any purpose for such a statement other

than to elicit a response.” Padilla, 387 F.3d at 1093. Finally, the fact that it is the




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Government who must prove the admissibility of the confession weighs heavily in this

otherwise close case. See, e.g., Missouri v. Seibert, 542 U.S. 600, 608 n. 1 (2004);

Brown v. Illinois, 422 U.S. 590, 604 (1975); Colorado v. Connelly, 479 U.S. 157, 169

(1986); Lego v. Twomey, 404 U.S. 477, 489 (1972). Nonetheless, the analysis cannot

end here.

   D. Scrupulously Dishonored

       The fact that Officer Crespo’s actions and statements were deemed to be the

“functional equivalent” of “interrogation” does not necessarily dictate that the Court

suppress Defendant’s confession.        Suppression now hinges on whether or not

Defendant’s silence was “scrupulously honored.”              Although Miranda requires

questioning to cease once a suspect invokes his or her right to remain silent, this does

not stand for “a per se proscription of indefinite duration upon any further questioning by

any police officer on any subject.”     Mosley, 423 U.S. at 102–03; § 76 The Miranda

Rules—Waiver and Invocation of Miranda Rights, 1 Fed. Prac. & Proc. Crim. § 76 (4th

ed.); see also Andrade, 135 F.3d at 107.

       As such, determining whether a suspect’s silence was “scrupulously honored”

requires an analysis of, inter alia, the following factors: “(1) whether a reasonable period

of time passed prior to the resumption [of questioning], (2) whether the same officer

resumed questioning, (3) whether the suspect received refreshed Miranda warnings,

and (4) whether questioning concerned the same alleged crime.”            United States v.

Oquendo-Rivas, 750 F.3d 12, 17-18 (1st Cir. 2014); see also United States v. Lugo

Guerrero, 524 F.3d 5, 12 (1st Cir. 2008) (citing Mosley, 423 U.S. at 104–06). Further,

for the sake of completeness, the Court recognizes that the Seventh Circuit explicitly

mentions two additional factors meriting attention: “the scope of the second


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interrogation” and “the degree to which police officers pursued further interrogation once

the suspect had invoked his right to silence.”     Schwensow, 151 F.3d at 658, cert.

denied, 525 U.S. 1059 (1998). “Beyond assessing these factors, however, our ultimate

review must account for the ‘totality of the circumstances,’ with an eye to determining

whether the suspect retained the ability to choose whether and when to speak.”

Oquendo-Rivas, 750 F.3d at 18; Lugo Guerrero, 524 F.3d at 12 (quoting

Thongsophaporn, 503 F.3d at 57).


      Turning to the particulars of the case, these factors, as eloquently stated by the

Magistrate Judge, move the Court to suppress Defendant’s confession:

      (1) no reasonable amount of time passed prior to the resumption [of
      questioning] since [Officer] Crespo immediately proceeded to require that
      [Defendant] sign a second document stating that he declined to give a
      statement and to warn him that he had one last chance to testify; (2) it was
      the same officer that resumed questioning, (3) [Defendant] did not
      [receive] refreshed Miranda warnings [after agreeing to speak in response
      to Officer Crespo’s “last chance” statement], and (4) the verbal exchange
      between [Officer] Crespo and [Defendant] concerned the same alleged
      crime. Compare with Mosley, 423 U.S. at 106-107 (finding that the “right to
      cut off questioning” had been scrupulously honored because the police
      immediately ceased interrogation, resumed questioning after an extended
      period of time had passed, different officers did the questioning each time
      and gave full warning at the outset of each interrogation, and the
      questioning was for different crimes.).

Docket No. 78, p. 8. However, it should be noted that the two other explicit Seventh

Circuit factors—“the scope of the second interrogation” and “the degree to which police

officers pursued further interrogation once the suspect had invoked his right to

silence”—are more friendly to the Government. Nevertheless, the Court finds, as the

Honorable Magistrate Judge does, that an objective evaluation of the “totality of the

circumstances” leads to a finding that Defendant’s silence was not “scrupulously

honored.” Objectively speaking, in light of Officer Crespo’s actions and “last chance”


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statement, Defendant did not retain “the ability to choose whether and when to speak.”

See Oquendo-Rivas, 750 F.3d at 18; Lugo Guerrero, 524 F.3d at 12 (quoting

Thongsophaporn, 503 F.3d at 57). Defendant was inappropriately led to believe that he

had to waive his right to silence now or live to regret it forever. This Court, like others,

cannot reward such a practice.

    E. Exclusion of Evidence

       In the end, all of Defendant’s statements—whether inculpatory or exculpatory—

provided during the interview after Officer Crespo’s “last chance” comment are hereby

suppressed. See Innis, 446 U.S. at 301 n. 5 (“By ‘incriminating response’ we refer to

any response—whether inculpatory or exculpatory—that the prosecution may seek to

introduce at trial.”); Miranda, 384 U.S. at 476-77; § 77 The Miranda Rules—

Consequences of a Miranda Violation, 1 Fed. Prac. & Proc. Crim. § 77 (4th ed.) (“No

distinction is permitted between ‘confessions’ and ‘admissions,’ nor between inculpatory

statements and those claimed to be merely ‘exculpatory.’ Any statement, of whatever

nature, comes under the rule.”).

       The briefs do not advise the Court of the existence of any derivative evidence

stemming from Defendant’s confession. In any event, the Court need not enter this

realm of analysis as no arguments have been provided on this point nor has Defendant

made any request to exclude derivative evidence. The Court need proceed no further.4

                                    V.     THE DECISION

       For all of the foregoing reasons, the Court hereby ADOPTS the Hon. Magistrate

Judge Bruce J. McGiverin’s report and recommendation and GRANTS Defendant’s

4
 The Court, following the lead of the Magistrate Judge, does not address Defendant’s hearsay argument
as the evidence was suppressed on Miranda grounds. Further, Defendant did not challenge the
Magistrate Judge’s treatment of this argument by objecting to the report and recommendation.


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motion to suppress.5 See Docket Nos. 66 and 78. In a few words, the Court rules as

follows: (1) Defendant was in “custody” at the time of the interview, (2) Defendant

unambiguously invoked his right to remain silent during the interview, (3) Defendant was

subsequently “interrogated” by Officer Crespo, (4) Officer Crespo did not “scrupulously

honor” Defendant’s right to remain silent, and (5) these findings result in the

suppression of all of Defendant’s statements provided during the interview after Officer

Crespo’s “last chance” comment.


       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this 11th day of July, 2016.

                                                         /S/ Daniel R. Domínguez
                                                         DANIEL R. DOMÍNGUEZ
                                                        United States District Judge




5
 The Court must take a moment to praise the commendable report and recommendation issued by the
Hon. Magistrate Judge Bruce J. McGiverin.


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